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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                                   Case No.: 9:16-cv-81798-DMM



  TTT Foods Holding Company LLC,
  a Florida limited liability company,

                 Plaintiff,
  v.

  BEATRICE NAMM, an individual,
  JONATHAN NAMM, an individual,
  and DELUXE GOURMET
  SPECIALTIES LLC, a New Jersey                        TRIAL BY JURY DEMANDED
  limited liability company,

              Defendants.
  _________________________________/

                      AMENDED ANSWER, AFFIRMATIVE DEFENSES

         COME NOW the Defendants, BEATRICE NAMM, an individual, JONATHAN NAMM,

  an individual, and DELUXE GOURMET SPECIALTIES LLC, a New Jersey limited liability

  company, by and through the undersigned attorneys, and file this their Answer and Affirmative

  Defenses, and state in support thereof as follows:

                                              ANSWER

                 1.      All allegations in the Amended Complaint are denied unless specifically

  admitted herein.

                 2.      The allegations contained in Paragraphs 1-6, 10, 20, 21, 26, 39 and 117 of

  the Amended Complaint are admitted.



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                 3.        As to Paragraph 13 and 14, admit that on January 2, 2015, Defendant

  BEATRICE NAMM sued Jeffrey Brandon and Eric Scholer for breach of contract, otherwise

  deny the remaining allegations.

                 4.        As to Paragraph 15, Exhibit “A” speaks for itself; otherwise deny the

  remaining allegations.

                 5.        As to Paragraph 16, admit that a lawsuit was filed, otherwise deny the

  remaining allegations; the Answer, Affirmative Defenses and Counterclaims to the complaint

  filed by Plaintiff is attached hereto as Exhibit “A”.

                 6.        As to Paragraph 17, Exhibit “B” speaks for itself; otherwise deny the

  remaining allegations.

                 7.        As to Paragraph 18, Exhibit “C” speaks for itself; otherwise deny the

  remaining allegations.

                 8.        As to Paragraph 19, Exhibit “D” speaks for itself; otherwise deny the

  remaining allegations.

                 9.        As to Paragraph 22, Exhibit “E” speaks for itself; otherwise deny the

  remaining allegations.

                 10.       As to Paragraph 23, Exhibit “F” speaks for itself; otherwise deny the

  remaining allegations.

                 11.       As to Paragraph 24, Exhibit “G” speaks for itself; otherwise deny the

  remaining allegations.

                 12.       As to Paragraph 29, the order referred to was obtained without notice to


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  Defendant BEATRICE NAMM that she would be the subject matter of that order, as articulated

  in detail in the Motion to Set Aside Order Entered on August 16, 2016 and Motion for Attorney

  Fees and Costs attached hereto and incorporated herein as Exhibit “B”.

                                    AFFIRMATIVE DEFENSES

                 13.     1st Affirmative Defense: The transfers are not voidable, and Defendants

  are not liable, because they were made in the ordinary course of business or financial affairs of

  Bea’s Brooklyn’s Best LLC and/or more of the Defendants.

                 14.     2nd Affirmative Defense: The transfers are not voidable, and Defendants

  are not liable, because Bea’s Brooklyn’s Best LLC received a reasonably equivalent value in

  exchange for the alleged transfers.

                 15.     3rd Affirmative Defense: The transfers are not voidable under

  §726.105(1)(a), Florida Statutes (2016), as to Defendants or others who took in good faith and

  for a reasonably equivalent value, or against any subsequent transferee or obligee.

                 16.     4th Affirmative Defense: The transfers were made without an actual

  intent to hinder, delay or defraud Plaintiff, but instead in good faith and/or in the exercise of good

  business judgment.

                 17.     5th Affirmative Defense: The transfers are not voidable under

  §726.106(2), Florida Statutes (2016), to the extent Defendants gave new value to or for the

  benefit of Bea’s Brooklyn’s Best LLC after or before the transfers were made.

                 18.     6th Affirmative Defense: The transfers are not voidable under

  §726.106(2), Florida Statutes (2016), because they were made in the ordinary course of business


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  or financial affairs of Bea’s Brooklyn’s Best LLC and/or Defendants.

                  19.     7th Affirmative Defense: The transfers are not voidable under

  §726.106(2), Florida Statutes (2016), because they were made pursuant to a good faith effort to

  rehabilitate Bea’s Brooklyn’s Best LLC, and/or the transfers secured present value given for that

  purpose and/or an antecedent debt of Bea’s Brooklyn’s Best LLC.

                  20.     8th Affirmative Defense: Notwithstanding voidability of a transfer or an

  obligation under §§726.101-726.112, Florida Statutes (2016), Defendants, as good faith

  transferees, are entitled, to the extent of the value given Bea’s Brooklyn’s Best LLC for the

  transfers, to: (a) a lien on or a right to retain any interest in the asset transferred; (b) enforcement

  of any obligation incurred; and/or (c) a reduction in the amount of the liability on the judgment.

                  21.     9th Affirmative Defense: Defendants are entitled, to the extent of the

  value given Bea’s Brooklyn’s Best LLC for the transfers, to a set off of said value from any

  award to Plaintiff, if any.

                  22.     10th Affirmative Defense. Plaintiff has no standing to bring Count V.

                  23.     11th Affirmative Defense: Bea’s Brooklyn’s Best LLC and/or Defendant

  BEATRICE NAMM are not liable to Plaintiff for having exercised their business judgment in the

  operation of Bea’s Brooklyn’s Best LLC’s business, including it dissolution or winding down.

                  24.     12th Affirmative Defense: Brooklyn’s Best LLC was not created or used

  in order to mislead or defraud Plaintiff, and its corporate veil should not be pierced nor should

  Defendant BEATRICE NAMM be found to be its alter ego. Brooklyn’s Best LLC was initially

  organized, established, operated and controlled by Plaintiff. It was only later that Plaintiff


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  relinquished control to Defendant BEATRICE NAMM in exchange for the promissory notes to

  be paid exclusively by Brooklyn’s Best LLC. Plaintiff knowingly and intentionally, with the

  assistance and advice of its attorneys, did not have Defendant BEATRICE NAMM sign or

  guarantee the promissory notes, but instead knowingly and intentionally accepted the risks and

  consequences of Brooklyn’s Best LLC not repaying the said notes. Plaintiff is now seeking to

  have Defendant BEATRICE NAMM liable for the promissory notes undertaken by Brooklyn’s

  Best LLC, under the pretense that somehow they were deceived. The reality of the matter is that

  Plaintiff entered into the contractual relationship created by the promissory notes knowing

  everything there was to know about the operation of Brooklyn’s Best LLC, Defendant

  BEATRICE NAMM and Defendant DELUXE GOURMET SPECIALTIES LLC, and it was fully

  informed and not misled. Plaintiff are now seeking to obtain what they could not, and did not,

  obtain through negotiations, to wit: to hold Defendant BEATRICE NAMM personally liable for

  the promissory notes.

                 25.      13th Affirmative Defense: Counts I through IV attempt to allege a

  fraudulent conveyance action against both Defendant BEATRICE NAMM and Defendant

  JONATHAN NAMM premised on §§726.105 and 726.106, Florida Statutes (2016), and seek to

  hold both defendants jointly and severally liable. Counts I through IV fail to state a cause of

  action to establish joint and several liability. A fraudulent conveyance action is against a

  transferee directed against a particular transaction, which, if declared fraudulent, is set aside thus

  leaving the creditor free to pursue the asset, or it is an action against a transferee who has

  received an asset by means of a fraudulent conveyance and should be required to either return the


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  asset or pay for the asset. There is no basis for joint and several liability under §§726.105 or

  726.106, Florida Statutes (2016).

                 26.     14th Affirmative Defense: Count V attempts to allege a violation of

  fiduciary duty by Defendant BEATRICE NAMM. Under Florida law, "[t]o establish a fiduciary

  relationship, a party must allege some degree of dependency on one side and some degree of

  undertaking on the other side to advise, counsel, and protect the weaker party." Taylor Woodrow

  Homes Florida, Inc. V. 4/46-A Corp., 850 So. 2d 536, 540-41 (Fla. 5th Dist. Ct. App. 2003)

  (quoting Watkins v. NCNB Nat'l Bank of Fla., NA, 622 So. 2d 1063, 1065 (Fla. 3d Dist. Ct. App.

  2003)); accord Lanz v. Resolution Trust Corp., 764 F.Supp. 176, 179 (S.D. Fla. 1991), and

  Bankest Imports, Inc. v. Isca Corp., 717 F. Supp. 1537, 1541 (S.D. Fla. 1989). "When the parties

  are dealing at arm's length, a fiduciary relationship does not exist because there is no duty

  imposed on either party to protect or benefit the other." Id.; accord Maxwell v. First United Bank,

  782 So. 2d 931, 934 (Fla. 4th Dist. Ct. App. 2001). In the usual creditor-debtor relationship a

  fiduciary duty does not arise. See Barnett Bank of West Florida v. Hooper, 498 So. 2d 923, 925

  (Fla. 1986). To establish a fiduciary relationship, a party must allege some degree of dependency

  on one side and some degree of undertaking on the other side to advise, counsel and protect the

  weaker party. Brigham v. Brigham, 11 So. 3d 374, 387 (Fla. 3rd DCA 2009); Watkins v. NCNB

  Nat'l Bank of Fla., N.A., 622 So. 2d 1063, 1065 (Fla. 3d DCA 1993); Lanz v. Resolution Trust

  Corp., 764 F. Supp. at 179. Count V fails to state a cause of action for violation of a fiduciary

  duty. There is no allegation in Count V of ultimate facts to support a cause of action for a

  violation of fiduciary duty. There is no allegation of any undertaking by Defendant BEATRICE


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  NAMM to advise, counsel and protect Plaintiff, and there is no allegation of any reliance by

  Plaintiff, nor could such allegations be made in good faith. Furthermore, there is no “duty of

  loyalty”, “duty of care” or “duty to act in good faith [or] in the best interest of” owed to Plaintiff

  by Defendant BEATRICE NAMM and Count V should be dismissed.

                 27.     15th Affirmative Defense: Plaintiff has failed to joint a non-diverse

  indispensable required party, to wit: Bea’s Brooklyn’s Best LLC. In the Amended Complaint,

  Plaintiff claims: that Bea’s Brooklyn’s Best LLC made certain transfers that were fraudulent (i.e.,

  Counts I-IV); that Bea’s Brooklyn’s Best LLC owed Plaintiff certain fiduciary duties and that

  those duties were breached by Defendant BEATRICE NAMM in her corporate capacity as

  manager Bea’s Brooklyn’s Best LLC (i.e., Count V); and that Defendant BEATRICE NAMM is

  either the alter ego of Bea’s Brooklyn’s Best LLC or that the corporate veil of Bea’s Brooklyn’s

  Best LLC should be pierced (i.e., Count VII). Bea’s Brooklyn’s Best LLC is a required and

  indispensable party to this action and this Court should dismiss this action.

                 28.     16th Affirmative Defense: Florida law follows the "American Rule" that

  attorney's fees may only be awarded by a court pursuant to an entitling statute or an agreement of

  the parties. See Florida Patient's Compensation Fund v. Rowe, 472 So. 2d 1145, 1148 (Fla.

  1985), modified, Standard Guar. Ins. Co. v. Quanstrom, 555 So. 2d 828 (Fla. 1990). The request

  for attorney fees contained in Plaintiff’s pleading should be dismissed or stricken, and are barred

  under Florida law. There is no statute or contract between the parties allowing the recovery of

  attorney fees by Plaintiff against Defendants.

                 29.     17th Affirmative Defense: For all the reasons articulated in 12th


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  Affirmative Defense, supra, it would be inequitable to grant Plaintiff any equitable relief.

                 30.     18th Affirmative Defense: For all the reasons articulated in 12th

  Affirmative Defense, supra, Plaintiff unclean hand and should not be granted equitable relief.

                 31.     Defendants have retained the undersigned attorney and has agreed to pay

  him a reasonable fee for his services.

         WHEREFORE the Defendants request that this Court deny Plaintiff all relief requested

  and award Defendants their incurred attorney fees and costs, if allowable.

         Trial by jury demanded as to all issues so triable.

                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on December 17, 2016, I sent a true and correct copy of the
  foregoing by E-mail delivery John E. Page, counsel for Plaintiff (jpage@sflp.law) and Bernice C.
  Lee, counsel for Plaintiff (blee@sflp.law).

                                                        /s/ Agustin R. Benitez
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